Case 17-15258-VFP                              Doc 534         Filed 10/05/18 Entered 10/05/18 16:17:07                                                               Desc Main
                                                              Document      Page 1 of 9
                                                           UNITED STATES BANKRUPTCY COURT
                                                                DISTRICT OF NEW JERSEY




 In Re: Cinram Group, Inc.                                                                                                                   Case Number: 17-15258 (VFP)



                                                                          MONTHLY OPERATING REPORT
                                                                   For the Period August 1, 2018 through August 31, 2018




                                                                                                                                                  Document         Explanation
 REQUIRED DOCUMENTS                                                                                               Form No.                        Attached          Statement
 Schedule of Cash Receipts and Disbursements                                                                   MOR-1                                 X
    Bank Reconciliation (or copies of debtor's bank reconciliations)                                           MOR-1a                                                  X
    Schedule of Professional Fees Paid                                                                         MOR-1b                                    X
    Copies of bank statements                                                                                                                                          X
    Cash disbursements journals                                                                                MOR-1c                                    X
 Statement of Operations                                                                                       MOR-2                                     X
 Balance Sheet                                                                                                 MOR-3                                     X
 Status of Postpetition Taxes                                                                                  MOR-4                                     X
   Copies of IRS Form 6123 or payment receipt
   Copies of tax returns filed during reporting period
 Summary of Unpaid Postpetition Debts                                                                          MOR-4                                     X
 Accounts Receivable Reconciliation and Aging                                                                  MOR-5                                     X
 Debtor Questionnaire                                                                                          MOR-5                                     X

 I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
 are true and correct to the best of my knowledge and belief.



                                                                                                               9/6/18
 Signature of Authorized Individual                                                                                          Date


 Joseph Catalano                                                                                               Secretary
 Printed Name of Authorized Individual                                                                            Title of Authorized Individual

 Notes:



   The information contained herein is provided to fulfill the requirements of the Office of the United States Trustee. All information contained herein is
   unaudited and is subject to future adjustment. Certain assumptions have been made as noted herein. The unaudited consolidated financial statements
   presented herein have been derived from the Debtors’ books and records. Certain financial information, however, has not bee n subject to procedures that
   would typically be applied to financial information prese nted in accordance with US GAAP, and upon the appli cation of such procedures , the Debtors
   believe that the financial i nformation could be subje ct to further cha nges, and these changes coul d be material. Nothing contained in this Monthly
   Operating Report shall constitute a waiver of any of the Debtors’ rights or an admission with respect to their Chapter 11 Proceedings, including, but not
   limited to, matters involving objections to claims, substantive consolidation, equitable subordi nation, defenses, characterization or re-characterization of
   contracts, assumption or rejection of contracts under the provisions of cha pter 3 of Title 11 of the United States Code (the “Bankruptcy Code ”) and/or
   causes of action under the provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable laws to recover assets or avoid transfers.
Case 17-15258-VFP            Doc 534    Filed 10/05/18 Entered 10/05/18 16:17:07    Desc Main
                                       Document      Page 2 of 9
                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY


 In Re:                                                                              Chapter 11
 Cinram Group, Inc.                                                Case Number: 17-15258 (VFP)
                                                                           Jointly Administered
 SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS


                                                                        8/1/18        Cumulative
                                                                      8/31/18       Filing to Date




 Receipts
 Cash Sales                                                                 -                   -
 Asset Sales                                                                -                   -
 Rental Income                                                              -             7,258
 Intercompany transfer                                                (20,000)         (432,500)
 Other                                                                  1,141            11,250
 Total Receipts                                                       (18,859)         (413,992)


 Disbursements
 Rent                                                                       -               (910)
 Utility Escrow                                                             -             4,625
 Repairs and Maintenance                                                    -                   -
 Capital Expenses                                                           -                   -
 Payroll (1099)                                                        45,000           855,000
 Taxes                                                                      -             1,172
 Insurance                                                             12,328           161,713
 Worker's Comp                                                              -           (33,324)
 Miscellaneous                                                              -            93,909
 Total Operating Disbursements                                         57,328         1,082,186


 Loan Paydown                                                               -                   -
 Cash Interest                                                              -                   -
 Loan Fees                                                                  -                   -
 Deposits                                                                   -                   -
 Bank Fees                                                                  -               768
 Professional Fees                                                      6,056         1,048,712
 Board Fees                                                             4,000            68,000
 GUC Escrow                                                                 -                   -
 UST Fees                                                               1,952            18,852
 Total Non-Operating Disbursements                                     12,008         1,136,332


 Total Disbursements                                                   69,335         2,218,517


 Net Cash Flow                                                        (88,194)       (2,632,509)


 MOR-1
Case 17-15258-VFP                 Doc 534      Filed 10/05/18 Entered 10/05/18 16:17:07                         Desc Main
                                              Document      Page 3 of 9
                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY



 In Re:                                                                                                                  Chapter 11
 Cinram Group, Inc.                                                                                    Case Number: 17-15258 (VFP)
                                                                                                               Jointly Administered

                                                                MOR-1a
                          Debtor's Statement with respect to Bank Account Reconciliations and Bank Statements
                                         For the Period August 1, 2018 through August 31, 2018
 Bank Account Reconcilliations

 The Debtor affirms that bank reconciliations have been prepared for all open and active bank accounts to the Debtor’s books as of
 August 31, 2018 without exception, and are available upon request.

 Bank Statements

 Bank statements for all open and active bank accounts are retained by the Debtor and are available upon request. The Debtor's
 bank accounts and balances are as follows:



 Bank                                         Account Number                                               8/31/18


 Chase Bank - Operating account               xxxxxxxx0622                                                               1,348,353.13




                                                                                                                                     -




 Total Cash                                                                                                             1,348,353.13
 MOR-1A




                                                               MOR-1a
Case 17-15258-VFP                       Doc 534        Filed 10/05/18 Entered 10/05/18 16:17:07                                        Desc Main
                                                      Document      Page 4 of 9
                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW JERSEY



 In Re:                                                                                                                                               Chapter 11
 Cinram Group, Inc.                                                                                                                  Case Number: 17-15258 (VFP)
                                                                                                                                               Jointly Administered


 Professional Fees Paid

                                                                  August 1, 2018 - August 31, 2018


                                                      Amounts Paid This Period                                Cumulative Paid Since Petition Date
 Professional                                 Fees                  Expenses                   Total          Fees               Expenses                     Total
 Cole Shotz P.C.                             6,017                       39                   6,056       365,037                   5,934                370,972
 Eisner Ampner LLP                                -                        -                         -     82,753                     215                  82,968
 Lowenstein Sandler LLP                           -                        -                         -    482,373                  14,305                496,679
 JM Zell Partners Ltd.                            -                        -                         -     63,695                        -                 63,695
 Appraisal Group International                    -                        -                         -      3,000                        -                  3,000
 Greenman-Pedersen, Inc.                          -                        -                         -     20,460                   8,840                  29,300
 RSM US LLP                                       -                        -                         -      2,100                        -                  2,100
 LBYD, Inc.                                       -                        -                         -     32,402                   2,419                  34,821
 Total Professional Fees and Expenses        6,017                       39                   6,056      1,051,820                 31,713              1,083,533


 MOR-1B
Case 17-15258-VFP                    Doc 534        Filed 10/05/18 Entered 10/05/18 16:17:07                                      Desc Main
                                                   Document      Page 5 of 9
                                               UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF NEW JERSEY




 In Re:                                                                                                                                        Chapter 11
 Cinram Group, Inc.                                                                                                          Case Number: 17-15258 (VFP)
                                                                                                                                     Jointly Administered



                                                       CASH DISBURSEMENTS JOURNALS
                                                For the Period August 1, 2018 through August 31, 2018


 Payor                    Date             Payee                               Amount Paid     Category            Payment type      Check no.
 Cinram   Group,   Inc.           8/1/18   Bank Direct - Liability & Prop            8075.68   Insurance Expense          Wire       W20180801
 Cinram   Group,   Inc.           8/2/18   Cole Shotz                                2497.80   Cole Shotz P.C.           Check       1387
 Cinram   Group,   Inc.           8/2/18   Karen Kessler                             4000.00   Board Fees                Check       1388
 Cinram   Group,   Inc.           8/2/18   Glenn Langberg w/e 8/11                 10000.00    Management Costs          Check       1389
 Cinram   Group,   Inc.           8/2/18   Joseph Catalano w/e 8/11                  1250.00   Management Costs          Check       1390
 Cinram   Group,   Inc.          8/10/18   Glenn Langberg w/e 8/18                 10000.00    Management Costs          Check       1391
 Cinram   Group,   Inc.          8/10/18   Joseph Catalano w/e 8/18                  1250.00   Management Costs          Check       1392
 Cinram   Group,   Inc.          8/13/18   Cole Shotz                                3558.10   Cole Shotz P.C.           Check       1393
 Cinram   Group,   Inc.          8/13/18   Glenn Langberg w/e 8/24                 10000.00    Management Costs          Check       1394
 Cinram   Group,   Inc.          8/13/18   Joseph Catalano w/e 8/24                  1250.00   Management Costs          Check       1395
 Cinram   Group,   Inc.          8/21/18   Bank Direct - D&O                         4252.18   Insurance Expense          Wire       W20180821
 Cinram   Group,   Inc.          8/22/18   US Trustee CGI                            1951.70   US Trustee Fees           Check       1396
 Cinram   Group,   Inc.          8/24/18   Glenn Langberg w/e 8/31                 10000.00    Management Costs          Check       1397
 Cinram   Group,   Inc.          8/24/18   Joseph Catalano w/e 8/31                  1250.00   Management Costs          Check       1398
 Cinram   Group,   Inc.          8/28/18   To COI                                  20000.00    Fund Transfer              Wire       w20180828
 Cinram   Group,   Inc.          8/31/18   Glenn Langberg w/e 9/7                  10000.00    Management Costs          Check       1399
 Cinram   Group,   Inc.          8/31/18   Joseph Catalano w/e 9/7                   1250.00   Management Costs          Check       1400




 MOR1-C
Case 17-15258-VFP              Doc 534         Filed 10/05/18 Entered 10/05/18 16:17:07     Desc Main
                                              Document      Page 6 of 9
                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY


 In Re:                                                                                      Chapter 11
 Cinram Group, Inc.                                                        Case Number: 17-15258 (VFP)
                                                                                   Jointly Administered

 Cinram Group, Inc. Statement of Operations
 August 1, 2018 - August 31, 2018

                                                                          8/1/18             Cumulative
                                                                         8/31/18            Filing to Date
 Net Sales                                                                  1,141                 16,743
 COGS                                                                            -                       -
 Gross Margin                                                               1,141                 16,743

 Payroll (1099)                                                            56,250               866,250
 Payroll Taxes and Benefits                                                     -                     -
 Facility Maintenance                                                           -                     -
 Rent                                                                           -                  (910)
 Insurance                                                                 12,328               195,036
 Supplies                                                                       -                     -
 Repairs and Maintenance                                                        -                     -
 Utility Escrow                                                                 -                 4,625
 Trash Removal                                                                  -                     -
 Marketing                                                                      -                     -
 Security
 Admin                                                                          -                     -
 Travel & Entertainment                                                         -                     -
 Employee Procurement                                                           -                     -
 Purchased Services                                                             -                     -
 Professional Fees                                                          6,056             1,048,712
 Board Fees                                                                 4,000                68,000
 US Trustee Fees                                                            1,952                18,852
 Cash/Banking Fees                                                              -                   768
 Overhead Allocation                                                            -                     -
 Other Expenses                                                                 -                95,119
 Taxes                                                                          -                 1,172
 Interest Expense                                                               -                     -
 Depreciation & Amortization                                                    -                     -
 Reorganization Items                                                           -                     -

 Total Operating Expenses                                                  80,585             2,297,624

 Net Income (Loss)                                                        (79,444)           (2,280,881)

 MOR-2
Case 17-15258-VFP              Doc 534       Filed 10/05/18 Entered 10/05/18 16:17:07         Desc Main
                                            Document      Page 7 of 9
                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


 In Re:                                                                      Chapter 11
 Cinram Group, Inc.                                           Case Number: 17-15258 (VFP)
                                                                      Jointly Administered


 Cinram Group, Inc. Balance Sheet
 as of Month End
 in (000's)

                                                                           August 31, 2018
 ASSETS
 Cash & Equivalents                                                       $          1,348
 Merchandise Inventory                                                                 -
 Inventory Reserve                                                                     -
 Prepaid Merchandise                                                                   -
 Accounts Receivable                                                                   -
 Other Current Assets                                                                    35
 Current Assets                                                                      1,383

 Fixed Assets                                                                           -
 Accumulated Depreciation                                                               -
 Asset Impairment                                                                       -
 Property & Equipment, Net                                                              -

 Goodwill                                                                              -
 Intangible Assets                                                                     -
 Other Assets                                                                        3,744
 Total Assets                                                             $          5,127

 LIABILITIES
 DIP Financing                                                                          -
 Expense Payables                                                                       -
 Other Payables                                                                         -
 Accrued Expenses                                                                       -
 Transaction Fee Payable                                                                -
 Current Liabilities                                                                    -

 Liabilities Subject to Compromise- Secured                                            -
 Liabilities Subject to Compromise- Unsecured                                        1,774
 Long-Term Liabilities                                                               1,774

 Total Liablities                                                                    1,774

 EQUITY
 Stock                                                                                 -
 Retained Earnings                                                                   3,353
 Total Equity                                                                        3,353

 Total Liabilities & Equity                                               $          5,127




 MOR-3
Case 17-15258-VFP                       Doc 534      Filed 10/05/18 Entered 10/05/18 16:17:07                                                    Desc Main
                                                    Document      Page 8 of 9
                                                UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF NEW JERSEY




 In Re:                                                                                                                                                  Chapter 11
 Cinram Group, Inc.                                                                                                                      Case Number: 17-15258 (VFP)
                                                                                                                                                 Jointly Administered
                                                            STATUS OF POSTPETITION TAXES

 The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
 Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
 Attach photocopies of any tax returns filed during the reporting period.

 As of August 31, 2018
                                                           Beginning           Amount                                                                        Ending
                                                              Tax             Withheld or          Amount                Date            Check No.             Tax
                                                            Liability          Accrued              Paid                 Paid             or EFT             Liability
 Federal
 Withholding
 FICA-Employee
 FICA-Employer
 Unemployment
 Income
 Other:_________________
   Total Federal Taxes
 State and Local
 Withholding
 Sales
 Excise
 Unemployment
 Real Property
 Personal Property
 Other:_________________
   Total State and Local
 Total Taxes                                                             0                  0                   0                  0                 0                   0


                                                   SUMMARY OF UNPAID POSTPETITION DEBTS

 Attach aged listing of accounts payable.
 As of August 31, 2018
                                                                                                    Number of Days Past Due
                                                        Current              0-30               31-60          61-90                   Over 90           Total
 Accounts Payable
 Wages Payable
 Taxes Payable
 Rent/Leases-Building
 Rent/Leases-Equipment
 Secured Debt/Adequate Protection Payments
 Professional Fees
 Amounts Due to Insiders*
 Other:__________________________
 Other:__________________________
 Total Postpetition Debts                                                0                  0                   0                  0                 0                   0

 Explain how and when the Debtor intends to pay any past-due postpetition debts.




 *"Insider" is defined in 11 U.S.C. Section 101(31).




 MOR 4
Case 17-15258-VFP              Doc 534         Filed 10/05/18 Entered 10/05/18 16:17:07                   Desc Main
                                              Document      Page 9 of 9
                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY




 In Re:                                                                                                       Chapter 11
 Cinram Group, Inc.                                                                          Case Number: 17-15258 (VFP)
                                                                                                     Jointly Administered


                                        ACCOUNTS RECEIVABLE RECONCILIATION AND AGING
 August 31, 2018

 Accounts Receivable Reconciliation                                                                   Amount
 Total Accounts Receivable at the beginning of the reporting period                                      -             -
 + Amounts billed during the period                                                                      -             -
 - Amounts collected during the period                                                                   -             -
 Total Accounts Receivable at the end of the reporting period                                            -             -

 Accounts Receivable Aging                                                                            Amount
 0 - 30 days old                                                                                         -             -
 31 - 60 days old                                                                                        -             -
 61 - 90 days old                                                                                        -             -
 91+ days old                                                                                            -             -
 Total Accounts Receivable                                                                               -             -
 Amount considered uncollectible (Bad Debt)                                                              -             -
 Accounts Receivable (Net)                                                                               -             -



                                                      DEBTOR QUESTIONNAIRE

 Must be completed each month                                                                   Yes              No
 1. Have any assets been sold or transferred outside the normal course of business this
                                                                                                                 X
 reporting period? If yes, provide an explanation below.
 2. Have any funds been disbursed from any account other than a debtor in possession
                                                                                                                 X
 account this reporting period? If yes, provide an explanation below.
 3. Have all postpetition tax returns been timely filed? If no, provide an explanation
                                                                                                N/A             N/A
 below.
 4. Are workers compensation, general liability and other necessary insurance coverages in
                                                                                                X
 effect? If no, provide an explanation below.
 5. Has any bank account been opened during the reporting period? If yes, provide
 documentation identifying the opened account(s). If an investment account has been
 opened provide the required documentation pursuant to the Delaware Local Rule 4001-                             x
 3.

 MOR-5
